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April H. Gassler                                                       agassler@stglawdc.com

                                       December 16, 2022
VIA ECF FILING
The Hon. Lorna G. Schofield
United States District Judge
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square, Courtroom 1106
New York, NY 10007
       Re:     Associated Industries Insurance Company, Inc. v. Wachtel Missry LLP, et al.
               (Case No. 21 CIV 3624 (LGS)

Dear Judge Schofield:

        This firm represents Plaintiff, Associated Industries Insurance Company, Inc.
(“Associated”), in the above-referenced matter. In accordance with the Court’s Order dated
November 21, 2022 [dkt. 90], we write on behalf of Associated, as well as Defendants Wachtel
Missry LLP (the “Firm”), and Howard Kleinhendler (“Kleinhendler”) (collectively, the “Parties”),
to provide the following joint status report regarding the parties settlement discussions and
apprising the Court of any remaining issues in need of judicial resolution.

       1. Wachtel Missry LLP

        Associated and the Firm have reached a settlement and have memorialized their settlement
in a written agreement with an effective date of December 13, 2022. Upon the Firm’s receipt of
the payment required under the agreement, Associated and the Firm will file a joint stipulation of
dismissal, with prejudice, as to all claims between them. While the settlement payment is not due
until January 12, 2022, they hope to file their stipulation of dismissal before the end of the year.

       2. Howard Kleinhendler

        Regrettably, Associated and Kleinhendler have been unable to come to a mutually
agreeable resolution of this matter and their negotiations have reached an impasse. Accordingly,
Associated and Kleinhendler jointly request that the Court request proceed with adjudication of
their pending cross-motions for summary judgment on Kleinhendler’s affirmative defenses.

                                                     Respectfully submitted,


                                                     April H. Gassler
                                                     Counsel for Plaintiff
                                                     Associated Industries Insurance Co., Inc.

cc:    All Counsel of Record (via CM/ECF)

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